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CHRISTINE BELL, d/b/a JUN 1 3 2095 "`
ALLEGIANCE MORTGAGE
SERVICES, on behalf of herself
and all others similarly situated, R°Begf\b?€j;f§goL-] §'TF*"“
w. o. cF TN, MEMPHls
Plaintiff,
Civil Action No. 05-2361 MaV
V.
INFINITY DATA CORP., and
FIRST DATA CORP.,
Defendaots.

 

ORDER GRANTING DEFENDANTS INFINITY DATA CORP. AND FIRST DATA
CORP. ADDITONAL TIME 'I`O ANSWER OR OTHERWISE PLEAD

 

This cause came to be heard upon the motion of the defendants seeking additional time to
answer or otherwise respond to the Complaint. The plaintiff has indicated that she does not
oppose the motion.

For good cause shown, the time for the defendants lnflnity Data Corp. and First Data
Corp. to answer or otherwise respond to the Complaint is hereby enlarged until on or before
July15,2005.

IT ls So oRDERED this /3 day ofJune, 2005

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United States Distriet Judge
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Travis Parham

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Attorney for lnflnity Data Corp.

This document entered on the docket sheet In rts/mp|iance
with Hule 58 and/or 79(a) FHCP on

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02361 was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

